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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:
                                              Case No. 6:18-BK-00266-KSJ
Matthew Hunt Seaberg                                Chapter 7

      Debtor
_______________________________________/
          MOTION TO VACATE ORDER STRIKING AMENDED SCHEDULE D
         Debtor moves that the Court reconsider and vacate the Order Striking Amended Schedule
D [Doc. #34], and as grounds therefor would show:
         1.     This Voluntary Petition was filed on January 17, 2018 [Doc. #1].
         2.     Debtor’s original Schedule D was filed on February 1, 2018 [ Doc. #8] listing the
Internal Revenue Service on Schedule E/F as an unsecured priority claim.
         3.     Debtor filed his Amended Schedules on March 3, 2018 [Doc. #15] to, inter alia,
remove the Internal Revenue Service from Schedule E/F and add it to Schedule D as a secured
creditor, the appropriate fees were paid and service was effectuated [Doc. #18].
         3.     Debtor subsequently filed a second Amended Schedule D on April 25, 2018. The
amendment did not add any new creditor to the schedule. It was done solely for the purpose of
specifically delineating all of the Debtor’s property that was subject to the IRS lien for unpaid
taxes.
         4.     Because the second amended Schedule D did not add any new creditor, an
additional filing fee was not required nor was a certificate of service necessary. Further, no
Notice of Bankruptcy Case, Meeting of Creditors and Deadlines was required to be served as
there were no additional creditors upon which to serve it.
         WHEREFORE, Debtor requests that the Order Striking Amended Schedule D be vacated
and set aside to allow the Amended Schedule D contained with Doc. #30 stand as filed.

                                              /s/ Eric A. Lanigan
                                              Eric A. Lanigan, Esq.
                                              Fla. Bar No. 0219622
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                                              Winter Park, FL 32789

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       I HEREBY CERTIFY that on May 24, 2018, I electronically filed the foregoing motion
with the Clerk of the Court by using the CM/ECF system. I further certify that on May 25, 2018,
I mailed the foregoing document by first-class mail to the following non-CM/ECF participants:
Internal Revenue Service, Kansas City, MO 64999-0202.
                                           /S/Eric A. Lanigan
                                           Eric A. Lanigan, Esq.




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